Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 1 of 11




                 Exhibit A
           State Court
Summons & First Amended Complaint
    Case No. A-21-829753-C
     Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 2 of 11
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 2    C. JARED CLARK, ESQ.
      Nevada Bar No.: 13672
 J    CLARK LAW GROUP, PLLC
      6655 W. Sahara Ave., Ste. 4212
 4    Las Vegas, NV 89146
      Phone: (7OZ)330-3272
 5
      Fax: (702) 447-5323
 6    E-mail : j arecl.ri,cj clarkl au gr o up corn
      At torneys   for P laintiff
 7                                                        DISTRICT COURT

 8                                              CLARK COUNTY, NEVADA
 9
      CLARK LAW GROUP, PLLC, aProfessional                                         Case No. A-21-829753-C
10    Limited Liability Company                                                    Dept No. 4

1l                             Plaintiff,                                                SUMMONS

t2    vs.

13
      DENISE HENDERSON, an individual;
14    AMERICAN MEDICAL RESPONSE, INC.;
       SOUTHERN HILLS HOSPITAL AND
15    MEDICAL CENTER; FREMONT EMEGENCY
      SERVICES, INC. ; RADIOLOGY
l6    SPECIALISTS, LTD. ; ADVANCED
      ORTHOPEDIC & SPORTS MEDICINE:
t7
      ORTHOPEDIC FOOT AND ANKLE
l8    TNSTITUTE LLC.; THOMAS & BIGLER KNEE
      AND SHOULDER INSTITUTE; MEDICAL
l9    NEUROLOGY; ATI PHYSICAL THERAPY:
      SUNSET RIDGE SURGERY CENTER, LLC.;
20
      CENTER FOR MEDICARE & MEDICAID
21
      SERVICES: ANTHEM BLUE CROSS LIFE &
      HEALTH INSURANCE CO.; MERIDIAN
22    RESOURCE COMPANY, LLC.;DOES I th
      X. inclusive; and ROE CORPORATION I
23    through X, inclusive.

24
                             Defendants.
25

26            NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
27    WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN 2T DAYS. READ
28
      THE INFORMATION BELOW.

                                                                             1




                                            Case   N   umber:   A-21 -8297   s}C
    \         Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 3 of 11
t




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                           TO THE DEFENDANT. A Civil Complaint has been filed by the Plaintiff(s) against you for
          2
                the relief set forth in the Complaint.
          J


          4                                     CENTER FOR MEDICARE & MEDICAID SERVICES
                                                           7500 Security Boulevard
          5                                                 Baltimoreo MD 21244

          6                1.          If you intend to defend ttris lawsuit, within                 2l    days after this Summons is served on you

          7     exclusive of the date of service, you must do the follorving:

          8                            a-          File with the Clerk of this Court, whose address is shown below, a formal
                                                   written response to the Complaint in accordance with the rules of the Court.
          9
                                       b.          Serve a copy of your response upon the attomey whose name and address is
        l0
                                                   shown below-
        ll                 2.          Unless you respond, your default                     will   be entered upon application of the plaintiff(s)
        l2                 and this Court may enter a judgment against you for the relief demanded in the Complaint,
        13                 which could result in the taking of money or property or other relief requested in the
        t4                 Complaint

        l5                 3.          If you intend to seek the advice of an attomey in this matter, you should do so promptly
                           so that your response may be                        filed on time.
        16

        t7                                                                                      CLERK OII COUR.T
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        1B

        l9                                                                                      Miriam Va          uez
                                                                                          By
        20                                                                                      Deput-_v   Clerk
               Issued at the direction of.
        2t
               CLARK LAW GROUP, PLLC
        22

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               C. JARED CLARK, ESQ.
        24
               6655 W. Sahara Ave., Ste. 4212
        25     Las Vegas, NV 89146
               Phone: (702)330-3272
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                                                                DISTRICT COURT
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                                                          CI-ARK COUNTY, NEVADA
10
      CLARK LAW GROUP, PLLC, a Prof'essional                                   CASE    NO. A-2r-829753-C
ll    Limited Liability Company                                                DEPT    NO. IV

t2                                       Plaintifl,
                                                                               PLAINTIFF'S FIRST AMENDED
t3    vs.                                                                      COMPLAINT IN INTERPLEADER

t4    DENISE HENDERSON, an individual;                                          Exempt from Arbitration: NAR 3(A)
      AMERICAN MEDICAL RESPONSE, INC.;                                          (Action seeking equitable or extraordinary
l5    SOUTHERN HILLS HOSPITAL AND                                               relie{)
      MEDICAL CENTER; FREMONT
l6    EMERGENCY SERVICES, INC.;
      RADIOLOGY SPECIALISTS, LTD,;
l7    ADVANCED ORTHOPEDIC & SPORTS
      MEDICINE; ORTHOPEDIC FOOT AND
l8
      ANKLE INSTITUTE LLC.; THOMAS &
      BIGLER KNEE AND SHOULDER
l9
      INSTITUTE; MEDICAL NEUROLOGY
20    CHANG, LTD; ATI PHYSICAL THERAPYI
      SLTNSET RIDGE SURGERY CENTER, LLC.;
2t    CENTER FOR MEDICARE & MEDICAID
      SERVICESI ANTHEM BLUE CROSS LIFE
22    & HEALTH INSURANCE CO.; MERIDIAN
      RESOURCE COMPANY, LLC.;
23    ANESTHES IOLOGY CONSULTANTS,
      INC.: HEALING HEARTS HOME CARE;
24    HEALTHCARE PARTNERS MEDICAL
      GROUP COATS LTD: RADAR MEDICAL
25    (;RO    MING WEI WU INC]. DOES I




                                                        Case Number: A-21 -8297 53-C
     Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 5 of 11




      through X, inclusive; and ROE
      CORPORATION I through X, inclusive.
 2
                          Def-endants.
 3


 4
                   PLAINTIFF'S FIRST AMENDED COMPLAINT IN INTERPLEADER
 5

             COMES NOW, Plaintiff, CLARK LAW GROUP, PLLC (hereinafter "Plaintiff'), and as
 6

      and for its Complaint in Interpleader against Defbndants, and each of them, states as follows:
 7

 8            l.   At all times relevant to this action. Plaintiff was and is a Nevada Professional

 I    Lirnited Liability Company doing business in Clark County, Nevada.

l0           2.     PlaintitTis informed and believes, and thereon alleges that, at all tirnes relevant

i1    herein, Defendant DENISE HENDERSON, an individual (hereinatter "Denise"), was and is a

t2    resident of the City of Las Vegas, County of Clark, State of Nevada.

t3           3.     Plaintiff is informed and believes, and thereon alleges, that other persons and
t4    entities, including health care providers who provided health care to Denise and insurers, have
15
      or may have an interest in the interpled insurance settlement proceeds described in this
t6
      Complairrt, rvhether directly as a person or entity who provided health care to Denise or
t7
      indirectly as an entity who paid for health care rendered to Denise for injuries that she sustained
18
      in an incident that occurred on or about October 19, 2018. These persons and entities named
19
      herein as Defendants are as lbllows: AMERICAN MEDICAL RESPONSE,INC.; SOUTHERN
20
      HILLS HOSPITAL AND MEDICAL CENTER; FREMONT EMERGENCY SERVIC]ES.
2l
      INC.: RADIOLOGY SPECIALISTS. LTD.; ADVANCED ORTHOPEDIC & SPORTS
22
      MEDICINE; ORTHOPEDIC FOOT AND ANKLE INSTITUTE LLC.; THOMAS & BIGLER
23
      KNEE AND SHOULDER INSTITUTE; MEDICAL NEUROLOGY CHANG. LTD: ATI
24
      PHYSICAL THERAPY; SUNSET RIDGE SURGERY CENTER, LLC: CENTERS FOR
25
     Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 6 of 11




      MEDICARE & MEDICAID SERVICES; ANTHEM BLUE CROSS LIFE & HEALTH

 2    INSURANCE CO.; And MERIDIAN RESOURCE COMPANY, LLC.; ANESTHESIOLOGY

 3    CONSULTANTS,INC.; HEALING HEARTS HOME CARE; HEALTHCARE PARTNERS
 4
      MEDICAL GROUP COATS, LTD; RADAR MEDICAL GROUP; MING WEI WU, INC.,                                     AII

 5
      of ,uvhich are believed to be corporations or other business entities licensed to do business in
 6
      County of Clark, State of Nevada, and all of which are believed to have provided sen'ices to
 7
      Denise.
 8
                4.   The Def'endants named above in Paragraphs 2 through 3, inclusive, are hereinatter
 I
      referred to as the "Interpleader Defendants".
t0
                5. Pursuant to NRCP l0 (a) and Nufrenberger Hercules-llterke GMIIH v. Virostek,l07
ll
      Nev. 873, 822 P .2d I I 00     (I   991 ), the identities   of resident and non-resident defendants
t2
      designated as DOES        I through X, inclusive, and ROE CORPORATIONS I through X,
l3
      inclusive, are unknown to Plaintiff at the present time; however, it is alleged and believed that
14

      these defendants have or may have some lien, claim or right to the interpled settlement proceeds
l5

i6    in this Interpleader. As the specific identities of these parties are revealed through the course of

t7    discovery, the DOE and ROE CORPORATION designations r.vill be replaced to identify these

l8    parties by their true names and capacities.

19              6. Plaintiff   is intbrmed and believes, and thereon alleges, that at all tirnes relevant

20    hereto, particularly on or about October 19,2018, Denise was involved in a motor vehicle

2t    accident while traveling northbound on Durango Drive south of the intersection with SR160 in

22    Las Vegas, Nevada, when the tortf'easor, Jeric B. Rivera" ran the red light and crashed into

23
      Denise's veliicle at a high rate of speed (the "Accident").
24
                1.   Plaintiff is infonned and believes, and thereon alleges, that at all tirnes relevant
25
      hereto, Denise sustained substantial personal injuries due to the Accident.
                                                                   l
     Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 7 of 11




              8.     At all times relevant hereto, Denise entered into a contingency retainer

 2     agreement with Plaintifl, which provided that Plaintiff would be entitled to receive 33 ll3oh   of
 J     the gross amount recovered by Denise on account of all claims that she brought arising out of or

 4    relating to the Accident. See Exhibit " I " attached hereto.
 5
              9. That pursuant to the retainer agreement with Plaintiff, Denise also agreed to
 6
       reimburse Plaintiff for any and all costs incurred by Plaintiff in pursuit of Denise's claims fbr
 7
      personal injuries and damages arising from or relating to the Accident.
 8
               10. At all times relevant hereto, Denise, represented by Plaintiff, submitted
 9
       a claim against.Teric B. Rivera's insurance company and achieved a settlement       in the amount of
10
      Twenfy-Five Thousand Dollars ($25,000.00).
11
               I   1. At all times relevant hereto, Denise, represented by Plaintiff, submitted
t2
      a claim against Denise's orvn insurance company ancl achieved an underinsurance motorist
l3
       settlement in the amount of Twenty-Five Thousand Dollars ($25,000.00).
t4
               12. At all tirnes relevant hereto, pursuant to the retainer agreement between
15


l6    Plaintiff and Denise, Plaintiff is entitled to attorney's fees in the amount olSixteen Tliousand

t7     Six Hundred Sixty-Six Dollars and 671100 cents ($16,666.67), which is 33 ll3o/o of the total

18    settlement proceeds recovered of $50,000.00.

19             13. At all tirnes relevant hereto. PlaintitTis entitled to reimbursement of the costs

20    expended in representing Denise in the amount of One Hundred and Ninety-six and 871100

2t    Dollars ($196.87), not including any future legal costs associated with this action.

22             14. At this time, a dispute exists between Plaintiff and Denise concerning allocation and
23
      distribution of the settlement proceeds.
24

25


                                                          -'I
     Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 8 of 11




              15. Plaintiff    is infonned and believes, and thereon alleges, that the Interpleader

 2    Defendants claim entitlement to a portion of the settlement proceeds and have liens and/or have

 J    assefted claims against the amount interpled.

 4
              16.      The combined claims made by all of the Interpleader Def-endants exceed Fif'teen

 5
      Thousand Dollars and ZERO cents ($15,000.00).
 6
              17   .   Plaintiff is owed and has earned attomey's   f'ees and costs as a result   of its
 7
      representation of Denise and is entitled to its fees and costs prior to distribution to any of the
 8
      Interpleader Defendants under Michel v. Eighth Dist. Cow"t ex rel. Countl: oJ'Clcu'k, I l7 Nev.
 I
       145,17 P.3d 1003 (2001).
l0
              18. Plaintiff    is not in a position to determine the fair distribution of the remaining
ll
      settlement proceeds to the Interpleader Defendants after the distribution to Plaintiff. As such,          it
12
      has become necessary to      file this Complaint in Interpleader.
t3
              19. Plaintiff    has brought this Complaint in Interpleader in good faith and        witliout
14

      collusion with any pafties hereto.
t5

l6            20. Pursuant to NRCP 22       and the case larv interpreting the same,     Plaintiff is entitled to

l7    interplead all money with the Court and/or its designee, so that the Court rnay detennine the

l8    rights of Plaintiff and the Interpleader Defbndants to the interplead tr.rnds.

t9            21. PlaintitTis r.villing to deposit the total sum of Fifty Thousand Dollars andZero

20    Cents ($50,000.00) by order of the Court to hold in trust until such time as the rights of the

2t    claimants to those funds is determined by the Cour1, or Plaintiff shall continue to hold such

22    firnds in trust until firrther ordered by the Coufi.

23
              22. Plaintiff   has incurred, and   will continue to incur,   costs and f-ees associated with this
24
      Interpleader.
25
     Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 9 of 11




 I             23. Because this is a matter seeking equitable relief,    it should be exempted fi'orn

 2     arbitration pursuant to Rule 3(a) of the Rules Governing Alternative Dispute Resolution.

 J            WHEREFORE, Plaintiff, who reseryes the riglit to amend tliis Complaint in
 4     Interpleader to name all Defbndants not yet ascertained, prays for relief as fbllows:

 5
               l.   That each of the Interpleader Defendants be restrained fiorn instituting any action
 6
       against Plaintiff or any other party hereto tbr the recovery of any claim arising out of the
 7
       Accident;
 8
              2. That the Interpleader     Defendants be required to interplead and settle betrveen
 9
       themselves and the Coutt each of their respective rights,      if any, to the settlement proceeds;
l0
              3. Tliat Plaintiff   be discharged fiom all liability arising out of the Accident, except to
ll
       the extent the Courl orders;
t2
              4.    That pursuant to its retainer agreement rvith Denise, Plaintiff receive its attorneys'
l3
       fees and costs from the settlement proceeds before any distribution to any Interpleader
14

       Defendant;
l5

l6            5. That Plaintiff    be awarded its costs incurred in   filing   and prosecuting this Interpleader


t7     Complaint;

l8            6.    For any and all further relief necessary to protect Plaintiff from any claim to the

t9     money obtained in settlement on behalf of Denise, including discharging Plaintiff fi'orn any

2A     obligation to pay any Interpleader Defendant lbr claims relating to the Accident:

2t            7. That all   debts owed to the Interpleader Defendants be clischarged in        full from   the

22     settlement proceeds:

23
              8. For any other order or declaration to carry out the purpose of NRCP 22 and the cases
24
       interpreting same; and
25

                                                           :|1
 Case 2:22-cv-00666-CDS-DJA Document 1-2 Filed 04/22/22 Page 10 of 11




          9.   For such other further relief as the Courl deems just and proper

 2
      DATED this l't day of Febmary 2022.
 3
                                                         CLARK LAW GROUP, PLLC
 4
                                                         /.:;/   Evun K. Siutonsen
 5

                                                         C. JARED CLARK, ESQ.
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                                                         Nevacla Bar No. 13672
 7
                                                         EVAN K. SIN{ONSEN, ESQ.
                                                              BarNo. 13762
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 8                                                       6655 W. Sahara Ave., Ste.                  Al   14
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 I                                                       A   ttorne-vs   /ir   P   I   uint   iff
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    February 19, 2021                                                                                                                 /s/ C. .larecl Clark
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